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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     EDWARD BATON, et al.,                              Case No. 21-cv-02470-EMC
                                   8                    Plaintiffs,
                                                                                            JUDGMENT
                                   9             v.

                                  10     LEDGER SAS, et al.,
                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




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                                  14          On November 8, 2021, the Court issued its Order Granting Defendants’ Motions to

                                  15   Dismiss. Pursuant to Federal Rule of Civil Procedure 58, the Court hereby ENTERS judgment in

                                  16   favor of Defendants. The Clerk of Court shall close the file in this matter.

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                                  18          IT IS SO ORDERED.

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                                  20   Dated: November 8, 2021

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                                                                                         EDWARD M. CHEN
                                  23                                                     United States District Judge
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